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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 THE STATE OF TEXAS, et al,                 §
                                            §
                                            §
         Plaintiffs,                        §
                                            §
 v.                                         §         Civil Action No. 4:20-cv-00957-SDJ
                                            §
 GOOGLE LLC,                                §
                                            §
                                            §
         Defendant.                         §



  DEFENDANT GOOGLE LLC’S UNOPPOSED MOTION FOR LEAVE TO FILE
UNDER SEAL AND TO EXTEND TIME LIMIT UNDER LOCAL RULE CV-5(a)(7)(E)

       Defendant Google LLC (“Google”) respectfully moves to seal its Motion for Summary

Judgment on Plaintiffs’ Antitrust Claims, Statement of Facts in Support of Google’s Motions for

Summary Judgment, and Declaration of R. McCallum in Support of Google’s Motions for

Summary Judgment with all attached exhibits. Because these filings are voluminous, Google seeks

permission to file all of these papers under seal in the first instance and to extend the time limit

under Rule CV-5(a)(7)(E) for submitting redacted versions from seven days to 21 days.

                                      LEGAL STANDARD

       While “[t]here is a strong presumption in favor of a common law right of public access to

court proceedings,” United States v. Holy Land Found. for Relief & Dev., 624 F.3d 685, 690 (5th

Cir. 2010), the “right to inspect and copy judicial records is not absolute,” Nixon v. Warner

Commc’ns, Inc., 435 U.S. 589, 597 (1978). For example, courts have recognized that the public’s

right to access is appropriately limited to protect individual privacy, Pugh v. Walmart Stores, Inc.

Texas Inj. Care Benefit Plan, No. 1:16-CV-490, 2017 WL 11664888, at *1 (E.D. Tex. May 30,
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2017), and “sources of business information that might harm a litigant’s competitive standing,”

Nixon, 435 U.S. at 598.

       In exercising its discretion to seal judicial records, “the Court must balance the public’s

common law right of access against the interests favoring nondisclosure.” S.E.C. v. Van

Waeyenberghe, 990 F.2d 845, 848 (5th Cir. 1993); Binh Hoa Le v. Exeter Fin. Corp., 990 F.3d

410, 419 (5th Cir. 2021) (directing courts to balance right of access against interest of

nondisclosure).

       While Local Rule CV-5(a)(7) provides that under ordinary circumstances, parties have

seven days following a sealed filing to file a redacted copy of that filing, “federal courts have the

inherent authority to ‘manage their own affairs so as to achieve the orderly and expeditious

disposition of cases.’” Dellucky v. St. George Fire Prot. Dist., No. 23-30810, 2024 WL 3688722,

at *3 (5th Cir. Aug. 7, 2024) (quoting Chambers v. NASCO, 501 U.S. 32, 43 (1991)); see also

Carranza v. Shelton & Valadez, P.C., No. SA-22-CV-00025-ESC, 2023 WL 3260544, at *1 (W.D.

Tex. May 4, 2023) (discussing court’s inherent power to manage its docket).

                                          ARGUMENT

       Google moves to file under seal its Motion for Summary Judgment on Plaintiffs’ Antitrust

Claims, the Statement of Facts in Support of Google’s Motions for Summary Judgment,, and

Declaration of R. McCallum in Support of Google’s Motions for Summary Judgment with all

attached exhibits.

       These filings include deposition transcripts, expert reports, and produced documents which

have been designated Confidential or Highly Confidential under the governing Confidentiality

Order (ECF No. 182). Similar materials have been sealed from other filings. See ECF No. 337.

The Opening Brief, Declaration, and Statement of Facts quote from and summarize the contents



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of these documents.

       Under Local Rule CV-5(a)(7)(E), “a party filing a document under seal must publicly file

a version of that document with the confidential information redacted within seven days.” In light

of the anticipated size of these filings, the parties jointly request that the Court grant permission to

file all of the aforementioned documents under seal in the first instance, and that the Court exercise

its inherent authority to extend the deadline under Rule CV-5(a)(7)(E) for submitting redacted

copies of these filings on the public docket from seven days to 21 days. See Carranza, 2023 WL

3260544 at *1.

                                          CONCLUSION

       For the foregoing reasons, Google’s motion to seal and to extend the deadline under Rule

CV-5(a)(7) should be granted.

Dated: November 18, 2024                        Respectfully submitted,

                                                /s/ Eric Mahr
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                               CERTIFICATE OF SERVICE

       I certify that on November 18, 2024, this document was filed electronically in compliance
with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per
Local Rule CV-5(a)(3)(A).

                                                           /s/ Eric Mahr

                            CERTIFICATE OF CONFERENCE
        I certify that counsel for Defendant conferred with counsel for Plaintiffs via telephone
conference (Google: R. McCallum, Plaintiffs: K. Bhat) and that counsel for Plaintiffs confirmed
Plaintiffs do not oppose the relief requested in this Motion.


                                                           /s/ Eric Mahr




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